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    Nancy L. Alper
    Pro Hac Vice (pending)
    Catherine A. Jackson
    Pro Hac Vice (pending)
    Leonor Miranda
    Pro Hac Vice (pending)
    OFFICE        OF     THE     ATTORNEY
    GENERAL FOR THE DISTRICT OF
    COLUMBIA
    600 6th Street N.W.
    10th Floor
    Washington, D.C. 20001
    (202) 727-3400 (telephone)
    (202) 347-8922 (fax)
    Email: Nancy.Alper@dc.gov
    Email: Catherine.Jackson@dc.gov
    Email: Leonor.Miranda@dc.gov

    COUNSEL FOR THE DISTRICT OF
    COLUMBIA, BY KARL A. RACINE,
    ATTORNEY GENERAL FOR THE
    DISTRICT OF COLUMBIA

                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

IN RE:                                                §
                                                      §    CASE NO. 21-30085-hdh-11
NATIONAL RIFLE ASSOCIATION                            §
OF AMERICA and SEA GIRT LLC,                          §    CHAPTER 11
                                                      §
                Debtors. 1                            §    Jointly Administered

    THE DISTRICT OF COLUMBIA’S MOTION IN SUPPORT IN THE STATE OF NEW
              YORK’S MOTION TO APPOINT CHAPTER 11 TRUSTEE

TO THE HONORABLE HARLIN D. HALE,
CHIEF UNITED STATES BANKRUPTCY JUDGE:




1
 The last four digits of the Debtors’ taxpayer identification numbers are: 6130 (NRA) and 5681 (Sea Girt). The
Debtors’ mailing address is 11250 Waples Mill Road, Fairfax, Virginia 22030.
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        1.       The District of Columbia (the “District”), through its Attorney General, a party of

interest in the above-referenced bankruptcy proceeding, hereby files this Motion in Support of the

State of New York’s General’s Motion to Appoint Chapter 11 Trustee (“District’s Motion”).

        2.       The District agrees with the State of New York (“New York”) that, to the extent

that the Debtor National Rifle Association of America, Inc. (NRA) is using the bankruptcy process

to subvert the regulatory authority and oversight of the state of New York where the NRA is duly

incorporated, this action is improper and abusive of the authority and purposes of this Court. To

the extent this Court does not grant New York’s motion to dismiss, the District joins New York’s

Motion 2 in seeking the appointment of a Chapter 11 Trustee.

        3.       On August 6, 2020, the District filed a nonprofit enforcement action pursuant to the

District’s Nonprofit Corporation Act and common law in D.C. Superior Court against the NRA

Foundation, Inc. and the NRA (“District Enforcement Action”). District of Columbia v. The NRA

Foundation, Inc. et al. (2020 CA 003454 B). 3 The District’s Enforcement Action came after

almost a year of diligent investigation into the relationship between the NRA Foundation and the

NRA which found that loans made to the NRA by the NRA Foundation and management fee

increases charged by NRA to the NRA Foundation were not in the interests of the NRA Foundation

and contrary to law.

        4.       The NRA Foundation is a nonprofit organization incorporated under the laws of the

District of Columbia. The NRA Foundation is required to operate solely for charitable purposes

related to promoting firearm and hunting safety. See e.g., D.C. Code § 29-401.02(3)-(4)(A). The

NRA Foundation is exempt from taxation under section 501(c)(3) of the Internal Revenue Code


2
  The State of New York’s Motion to Dismiss, or, in the Alternative, to Appoint a Chapter 11 Trustee [Docket No.
155] and State of New York Brief in Support of Motion to Dismiss, or in The Alternative Appoint Chapter 11 Trustee
(Feb. 12, 2021) [Docket No. 156].
3
  District Enforcement Action Complaint, attached as Exhibit 1.

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of 1986. As a charity with status as a 501(c)(3) organization under federal tax law, donors can give

money to the NRA Foundation tax free.

       5.      The NRA Foundation is strictly prohibited from funding activities of the NRA, as

a section 501(c)(4) organization, that are not consistent with the Foundation’s nonprofit purpose

and 501(c)(3) status, including political and substantial lobbying activities.

       6.      The NRA and NRA Foundation share management. For example, NRA Executive

Vice President Wayne Lapierre also serves on the NRA Foundation Board of Trustees, the NRA

and NRA Foundation share the same Treasurer, and the NRA Foundation Trustees must be elected

by the NRA Board of Directors. The majority of the NRA Foundation Trustees must also be

directors of the NRA and any remaining Trustees must at least be NRA members.

       7.      The District’s Enforcement Action asserts that, after years of financial extravagance

and mismanagement, the NRA improperly exploited the intertwining of the two organizations to

pilfer NRA Foundation funds to support the NRA generally, without adherence to the Foundation’s

nonprofit purposes. See State of New York Brief in Support of Motion to Dismiss, or in The

Alternative Appoint Chapter 11 Trustee at 15-34 (Feb. 12, 2021) [Docket No. 156]. Through loans

and management fee agreements, as well as other acts, the NRA Foundation subverted its own

charitable nonprofit purposes and interest to those of the NRA, and the NRA has continually

diverted NRA Foundation funds to benefit the NRA without proper oversight, thus diminishing

the NRA Foundation’s ability to further its charitable purposes. In other words, the NRA

mismanaged and diminished its own financial resources and then went after the resources of an

affiliated nonprofit and diminished the solvency of that second organization and the Foundation’s

ability to fulfill the purposes for which individuals believed they were providing donations.




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        8.    The influx of money to the NRA from the NRA Foundation occurred at the same

time that NRA leadership misused NRA funds and lacked appropriate oversight over NRA

expenditures, including for expensive travel, post-employment consulting agreements with former

employees who provided no services under the agreements, and credit card use. Exh. 1 (D.C. v.

NRA Foundation, et al. (2020 CA 0003454 B)); State of New York Brief in Support of Motion to

Dismiss, or in The Alternative Appoint Chapter 11 Trustee at 15-34 (Feb. 12, 2021) [Docket No.

156].

        9.    The District’s Enforcement Action seeks an array of equitable and injunctive relief,

including that a constructive trust be imposed over the funds improperly diverted to the NRA to

restore the funds to the benefit of the NRA Foundation’s charitable purposes.

        10.   The District has ongoing concerns regarding the transfer of funds between the NRA

and NRA Foundation, including concerns relating to the diversion of nonprofit funds by several

of NRA’s leadership, the mix of 501(c)(3) and 501(c)(4) monies, use and accounting of grant

funding from the NRA Foundation to the NRA, and governance and oversight issues within the

NRA that negatively impact the NRA Foundation’s ability to meet its charitable purposes. Exh. 1

(D.C. v. NRA Foundation, et al. (2020 CA 0003454 B)). These improper transfers have and may

continue to occur during the pendency of the NRA’s bankruptcy. See State of New York Brief in

Support of Motion to Dismiss, or in The Alternative Appoint Chapter 11 Trustee at 15-34 (Feb.

12, 2021) [Docket No. 156].

        11.   Not only does Section 1104(a) provide grounds for the appointment of a Chapter

11 trustee where there is fraud, dishonesty or gross mismanagement by the current management,

but Section 1104(a)(2) of the Bankruptcy Code, 11 U.S.C. § 1104(a)(2), also provides grounds

for the appointment of a Chapter 11 trustee in cases where the appointment of a Chapter 11



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trustee is in the best interests of the creditors. Here in this case, not only does cause exist for the

Court to appoint a Chapter 11 trustee for fraud, dishonesty, and gross mismanagement by the

current management, but the appointment of a Chapter 11 trustee is also in the best interests of

the creditors.

                 As the Bankruptcy Court for the District of New Mexico stated:

                 The debtor's ability to fulfill its duty of care to protect assets, its duty
                 of loyalty, and its duty of impartiality is at the core of an 11 U.S.C.S.
                 §1104(a)(2) analysis. Other factors courts consider when
                 determining whether appointment of a trustee is in the best interest
                 of creditors under §1104(a)(2) include: (1) The trustworthiness of
                 the debtor; (2) The debtor in possession's past and present
                 performance and prospects for the debtor's rehabilitation; (3) The
                 confidence--or lack thereof--of the business community and of
                 creditors in present management; and (4) The benefits derived by
                 the appointment of a trustee, balanced against the costs of
                 appointment.

In re Golden Park Estates, LLC, 2015 Bankr. LEXIS 1912 (Bankr. D.N.Mex. June 11, 2015) at

15.

        12.      Given the demonstrated dishonesty, fraud, negligence, and gross mismanagement

by the NRA’s current management, including LaPierre and other NRA executives, as detailed in

New York’s Motion, the District concurs that “cause” exists for the appointment of a trustee. The

District further concurs with New York that the appointment of a trustee is also appropriate under

11 U.S.C. § 1104(a)(1)-(2) due to the NRA management team’s long-standing history of failing in

their fiduciary duties to the NRA and lacking honesty and care in their oversight of the NRA’s

charitable assets.

        13.      For these reasons, the District joins New York’s request for an appointment of a

trustee under 11 U.S.C. § 1104(a).




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Dated: February 23, 2021             Respectfully submitted,
                                     KARL A. RACINE
                                     Attorney General for the District of Columbia

                                     KATHLEEN KONOPKA
                                     Deputy Attorney General
                                     Public Advocacy Division

                                     JIMMY R. ROCK
                                     Assistant Deputy Attorney General
                                     Public Advocacy Division

                                     Catherine A. Jackson
                                     CATHERINE A. JACKSON (D.C. Bar # 1005415)
                                     Chief, Public Integrity Section

                                     Nancy L. Alper
                                     NANCY L. ALPER (D.C. Bar # 411324)
                                     Senior Assistant Attorney General
                                     Commercial Division

                                     /s/ Leonor Miranda
                                     LEONOR MIRANDA (D.C. Bar # 1044293)
                                     Assistant Attorney General
                                     Office of the Attorney General for the
                                     District of Columbia
                                     400 6th Street, N.W., 10th Floor
                                     Washington, D.C. 20001
                                     (202) 727-3400 (telephone)
                                     (202) 347-8922 (fax)
                                     Leonor.Miranda@dc.gov
                                     Catherine.Jackson@dc.gov
                                     Nancy.Alper@dc.gov

                                     Attorneys for the District of Columbia




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                                CERTIFICATE OF SERVICE


       I hereby certify that on February 23, 2021, a true and correct copy of the foregoing was
served upon all parties entitled to notice, including the Debtors and United States Trustee, via the
Court’s electronic transmission facilities.

                                                     /s/ Nancy L. Alper____________
                                                     NANCY L. ALPER
                                                     Senior Assistant Attorney General
                                                     Attorney for the District of Columbia




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